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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA

Daniel Michniak,                               )
                                               )
       Plaintiff,                              )      Civil Action File No.
                                               )      2:08-CV-00420-MBC
v.                                             )
                                               )
Redline Recovery Services, LLC,                )
                                               )
       Defendant.                              )

                             NOTICE OF SETTLEMENT


       Plaintiff, by and through counsel, hereby gives Notice that the parties in the

above-captioned matter reached a settlement. Plaintiff anticipates filing a Notice of

Dismissal with prejudice in the near future.



                                               RESPECTFULLY SUBMITTED,

                                               Legal Helpers, P.C.

                                               By: /s/ Richard J. Meier
                                                  Richard J. Meier
                                                  The Sears Tower
                                                  Suite 5150
                                                  Chicago, IL 60606
                                                  Telephone: 1.866.339.1156
                                                  rjm@legalhelpers.com
                                                  Attorney for Plaintiff




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                             CERTIFICATE OF SERVICE

       I hereby certify that, on June 23, 2008, a copy of the foregoing Notice was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt. The following parties

were served via ordinary U.S. Mail properly addressed as follows:

Keary Floyd, Esq.
Franzén and Salzano, P.C.
40 Technology Parkway South, Suite 202
Norcross, Georgia 30092
Attorney for Defendant


                                                      /s/ Richard J. Meier




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